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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :      Criminal No. 22-cr-184 (DLF)
                                              :
BARRY BENNET RAMEY,                           :
                                              :
                         Defendant.           :

                 UNOPPOSED MOTION TO CONTINUE SENTENCING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves this Court for a three-week continuance of the June

1, 2023, sentencing hearing scheduled in the above-captioned matter. As explained via email to

the Court, undersigned counsel is facing a family emergency which requires travel to Minnesota.

       The government has conferred with counsel for the defendant.        The defendant does not

object to this motion.     The parties have also conferred regarding availability for a continued

sentencing hearing.   The parties are available June 21, 22, and 23 if the Court has availability on

those dates.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              DC Bar No. 481052


                                       By:              /s/
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